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                                      Instruction No. 1

       Because you found against Defendant in the Special Verdict Form, you must now award

plaintiff Managers damages in the amount that plaintiff Managers should have been paid in

overtime compensation.

       In determining the amount of damages, you may not include or add to the damages any

sum for the purpose of punishing defendant.




grn CIR. CIVIL ruRY INSTR.§ 16.70 (2018) [modified]
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                                         Instruction No. 2

       Plaintiff Managers have the burden of proving the amount of damages to which they are

entitled by the greater weight of the evidence. A fact has been proved by the greater weight of the

evidence, if you find tl~at it is more likely true than not true. You decide that by considering all of

the evidence and deciding what evidence is more. believable.

       You have probably heard the phrase "proof beyond a reasonable doubt." That is a stricter

standard than "more likely true than not true." It applies in criminal cases, but not in this civil

case; so put it out of your mind.




Joint. grn CIR. CIVIL JURY INSTR.§ 3.04 (2018) [modified]
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                                      Instruction No. 3

       The phrase "hours worked" includes all time spent by an employee that was primarily for

the benefit of the employer or the employer's business. Such time constitutes "hours worked" if

the employer knew or should have known that the work was being performed.




gm CIR. CIVIL WRY INSTR.§ 16.20 (2018)
Case: 4:14-cv-01535-JAR Doc. #: 330 Filed: 02/27/19 Page: 4 of 5 PageID #: 8244



                                       Instruction No. 4

       You will remember that certain charts were admitted in evidence. You may use those

charts as evidence, even though the underlying documents and records are not here. However,

the accuracy of those charts has been challenged. It is for you to decide how much weight, if any,

you will give to them. In making that decision, you should consider all of the testimony you

heard about the way they were prepared.




8rn CIR. CIVIL mRY INSTR.§ 2.12 (2018)
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                                          VERDICT

         We find that the plaintiff Managers bringing claims under Missouri's wage laws should

be awarded damages in the amount of:

                       $_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (stating the amount)



         We find that the plaintiff Managers bringing claims under the Fair Labor Standards Act

should be awarded damages in the amount of:

                       $_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _(stating the amount)




                                                   Foreperson


Dated:   --------
